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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                             15 Civ. 7433 (LAP)
-against-
                                                    ORDER
GHISLAINE MAXWELL,

                    Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    The parties shall confer and report to the Court by letter,

no later than January 8, 2021, their proposed next set of docket

entries to be reviewed for potential unsealing.

    SO ORDERED.

Dated:      New York, New York
            December 14, 2020


                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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